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                            UNITED STATES DISTRICT COURT
                            SO U TH ER N DISTRIC T O F FLO RID A

                       CaseNo.18-20818-ClV-G AYLES/OTAZO-% YES
   PD V SA U S LITIGA TIO N TRU ST,

         Plaintiftl


   LU K O IL PA N AM ER ICA S LLC,e/al.,

         Defendants.
                                            /

                                SIX TH D ISC O VER Y O R D ER

         TH IS CAU SE cam e before the Courtfor Continued Telephonic H earing held on June

   19,2018. This matterwas referred to the undersigned pursuantto 28 U.S.C.j 636 by the
   Honorable Darrin P.Gayles,United States District Judge (D.E.2201. At the Continued
   TelephonicHearing,theundersigned addressed thefollowing item s:

      l. The necessity for discovery in preparation for the anticipated Preliminary lnjunction
         Hearing(hereafter,ttpreliminarylnjunctionDiscovery''l;
         D efendants LukoilPan Am ericas LLC,ColonialO illndustries,Inc.,ColonialGroup,Inc.,

         Paul Rosado, Glencore Ltd., G lencore Energy UK Ltd., Gustavo Gabaldon, Sergio de la

         V ega, BA C Florida Bank, M axim iliano Poveda, Francisco M orillo, Leonardo Baquero,

         Helsinge Holdings,LLC,Helsinge,lnc.,Helsinge Ltd.,D anielLutz,LuisLiendo,John Ryan,

         and LuisAlvarez's(collectively,ttDefendants'')Noticeoflssuesto beAddressed atNext
         Available Telephonic Conference Regarding the Algamex Deposition (hereafter,
         tûDefendants'Notice''andçiDefendants'RequestforFeesandCosts'')(D.E.4291;and
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       3. PlaintiffPDVSA US Litigation Trust's (tlplaintiff')Notice oflssues and Response to
           Defendants'Notice and Plaintiffs RequestforSanctions(hereafter,çûplaintift's Cross-
           Notice''andûtplaintiffsRequestforSanctions'')(D.E.4381.
   In accordance with the undersigned'snzlingsatthe Continued TelephonicHearing,itis

           ORD ERED A N D A D JU DG ED as follow s:

               > W ith regard to the necessity for Preliminary lnjunction Discovery and/or a
                   Preliminary lnjunction Hearing,the partieshave untilFriday.July 13,2018 to
                   subm itan agreed orderorreporton the progress oftheir negotiations.

               # As to Defendants'Notice (D.E.4291 and Plaintiff's Cross-Notice (D.E.438J,
                   Algam ex shall produce a fully prepared com orate representative for

                   supplementaldeposition,limitedto 2hoursandthesubjectslisted inDefendants'
                   Notice of Video Deposition of Algamex (hereafter,ldAlgamex Notice'') (D.E.
                   412-11,on Tuesday,June 26,2018. Specifically,the corporate representative
                   shallbefullypreparedtoanswer,totheextenttheypertaintothesubjectslisted in
                   theAlgamexNotice:1)thequestionsthatDavid EvansCûM r.Evans'')wasunable
                   to answ er at the A lgam ex corporate representative deposition held on June 8,

                   2018;2)the questions to which Mr.Evanstestitied thatW illiam Duker($1Mr.
                   Duker'')wouldhavebeen in abetterpositionto answer;and 3)thequestionsthat
                   counselinstructed M r. Evansnotto answ eron grounds otherthan privilege.l

               > Defendants'RequestforFeesand Costs (D.E.429 at8)and Plaintiff'sRequest
                   forSanctions(D.E.438at21areDENIED.



   ! Defendants have highlighted these questions and answers in the transcriptof the deposition of A lgamex's
   corporaterepresentative,usingthefollowingcodes:l=yellow;2=teal;3= orange.SeeTranscript(D.E.429-2).
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             > By M onday, July 2, 2018, the parties shall subm it a proposed agreed

                confidentiality order.

                A Show Cause H earing on D efendants' M otion, by O rder to Show Cause, for

                Sanctionsand OtherReliefAgainstPlaintiff(D.E.430jisSET forFriday,July
                6, 2018 at 10:00 A M at 301 N orth M iam i Avenue, T enth Floor, M iam i,

                Florida,33128.

             >' The Hearing on Plaintiffs standing setfor June 28-29,2018 at 10:00 AM is

                hereby R ESET to A ugust2-3,2018 at 10:00 A M at301 N orth M iam iAvenue,

                Tenth Floor,M iam i,Florida,33128.

         DON E AND ORDERED in ChambersatM iam i,Florida,this$          ay ofJune,2018.


                                              6V A .Ju.J .
                                                             x       X
                                             A LICIA M .O TA ZO-REYES
                                             U N ITED STA TES M A G ISTM TE JU DG E


   CC*   U nited States D istrictJudge D anin P.Gayles
         CounselofRecord




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